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     FAUSTINO AGUAYO
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 9                               UNITED STATES DISTRICT COURT
10                          NORTHERN DISTRICT OF CALIFORNIA
11                                             –ooo–
12
      UNITED STATES OF AMERICA,
13                                                  CR. 05-118-MMC
                    Plaintiff,
14
      vs.                                           STIPULATION TO CONTINUE
15                                                  STATUS CONFERENCE AND
                                                    ORDER THEREON
16    FAUSTINO AGUAYO, et al.,

17                  Defendants.

18                                              /

19          Defendant FAUSTINO AGUAYO, by and through his counsel of record
20   Randy Sue Pollock, and Assistant U.S. Attorney David Hall hereby stipulate and agree
21   that the status conference presently set for Wednesday, February 22, 2006, be continued
22   until April 5, 2006, at 2:30 p.m.
23          Ms. Pollock is awaiting discovery in a related prosecution that is pending before
24   the Honorable Marilyn H. Patel, regarding a confidential informant in this case. It is
25   anticipated that this discovery should be available within the next few weeks.
26   ///
27   ///
28   ///
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 1          Ms. Pollock has advised all counsel in this case of the requested continuance and
 2   none have objected.
 3          The time period from February 22, 2006 through April 5, 2006, would be deemed
 4   excludable pursuant to 18 U.S.C. Section 3161(h)(8)(A), given that the ends of justice
 5   served by granting a continuance outweigh the best interests of the public and of the
 6   defendant in a speedy trial.   Additionally, pursuant to 18 U.S.C. Section
 7   3161(h)(8)(B)(ii) given the nature of the prosecution, the volume of the evidence, the fact
 8   that wiretaps were involved as well as pending motions in a related case, it is
 9   unreasonable to expect adequate preparation for pretrial proceedings and for the trial
10   within the time limits established by the Speedy Trial Act.
11
12
13    Date: February 27, 2006                    (S ) Randy Sue Pollock
14                                               RANDY SUE POLLOCK
                                                 Counsel for Defendant
15                                               FAUSTINO AGUAYO
                                                 On Behalf Of All Defendants
16
17
18                                             (S) David Hall
     Date: February 27, 2006                   _________________________________
19                                             DAVID HALL
                                               Assistant United States Attorney
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21
22   SO ORDERED:        February 28, 2006        ________________________________
23                                              MAXINE M. CHESNEY
                                                United States District Court Judge
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